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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 RICHMOND DIVISION

 CONTINENTAL CASUALTY COMPANY,

                Plaintiff/Counterclaim Defendant,

 v.                                                        Case No. 3:19-cv-00661-MHL
 AWP USA INC. a/k/a AGA, INC., et al.,

                Defendants/Counterclaim Plaintiffs.



      JOINT STATEMENT REGARDING CONTINENTAL CASUALTY COMPANY’S
                         NOTICE OF OBJECTION

        Pursuant to Paragraphs 23(a) through (g) of the Court’s August 5, 2021 Initial Pretrial

 Order (ECF No. 49), Plaintiff Continental Casualty Company (“Continental”) and Defendants

 AWP USA Inc. a/k/a AGA, Inc., Jefferson Insurance Company, and AGA Service Company

 (collectively, “Defendants”) (together with Continental, the “Parties”) submit this Joint Statement

 in response to Continental’s Notice of Objection (ECF No. 54).

        A.      Conferral Certification

        Pursuant to Paragraph 23(g) of the Court’s August 5, 2021 Initial Pretrial Order,

 undersigned counsel certifies that the parties, through counsel, have made a good faith effort to

 resolve this discovery dispute.   The parties’ conferral efforts include multiple letters, emails, and

 phone calls, dating back to September 2, 2021, and occurring as recently as today. The parties’

 formal meet and confer letters are attached as exhibits to Continental’s Notice of Objection.

        B.      Arguments

        The Parties have resolved their dispute with respect to Request Nos. 4, 6, 7, and 8.

 Attached as Exhibit A is a chart identifying the remaining discovery requests in dispute and each
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 party’s respective position with respect to the issues, including the applicable facts, supporting

 law, and legal analysis. Attached as Exhibit B is the Affidavit of Jack Zemp in Support of

 Defendants’ Discovery Objections and Answers.

        C.      Request for Hearing

        The Parties believe a hearing is necessary and will assist the Court in resolving this dispute

 and will jointly contact the Court to schedule a hearing.

        Dated: November 19, 2021

  /s/ Michael S. Levine                            /s/ Margaret T. Karchmer
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  Counsel for AWP USA Inc., AGA Service
  Company, and Jefferson Insurance Company




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